           Case 1:16-cr-00021-LDH Document 125 Filed 11/29/18 Page 1 of 7 PageID #: 702


AO 245B (Rev. 02/18) Judgmcnl in b Criminal Case
                      Sheet 1




                                        United States District Court
                                                         Eastern District of New York

              UNITED STATES OF AMERICA                                     j         JUDGMENT IN A CRIMINAL CASE


                         XAVIER ONEAL                                |Case Number: 16-CR-00021(S-1)-001
                                                                           )         USM Number: 87652-053

                                                                                     Jean D. Barrett, Esq.
                                                                           )
                                                                                     Defendant's Allomcy
THE DEFENDANT:

El pleaded guilty to count(s)        one of the superseding Indictment.
n pleaded nolo conlcndcre to count(s)
   which was accepted by the court.
□ wa.s found guilty on count(s)
   after a pica of not guilty.

The defendant is adjudicated guilty of these offenses;

Title & Section                  Nature of Offense                                                           Offense Ended                Count

 18 U.S.C.§ 1951(a)                Hobbs Act Robbery Conspiracy                                                12/8/2015                    1




        The defendant i.s sentenced as provided in pages 2 through               7          of ihisjudgment. The sentence is imposed pursuant to
llie Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on count(s)

   Coum(s)       Two - Seven                             Q is      [3 arc dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing addre.ss until all fine.s, restitution, costs, and special assessments imposedby this judgment arc ftifly paid. If ordered to pay restitution,
the defendant must notify the court and United Slates attorney of material changes in economic circumstances.

                                                                           5/31/2018
                                                                          D.ilc of Imposition of Judgment


                                                                                     S/LaShann DeArcy Hall
                                                                          Signature of Judge




                                                                           LaShann DeArcy Hall                                U.S.D.J.
                                                                          Numc and Title of Judge


                                                                           11/6/2018
                                                                          Date
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AO 245B (Rev.02/18) Judgment in Criminal Case
                     Sheet 2 -- Imprisonment
                                                                                                   Judgment - Page     2    of
DEFENDANT: XAVIER ONEAL
CASE NUMBER: 16-CR-00021{S-1)-001

                                                         IMPRISONMENT

         Tlic defendant is hereby committed to the custody of the Federal Biu cau of Prisons to be imprisoned for a total
icnn of:

   Eighty four(84) months.




         The court makes the following recommendations to the Bureau of Prisons:

  The court recommends that the defendant be designated to the Yazoo City facility.




     El The defendant is remanded to the custody of the United States Marshal.

     □ The defendant shall sun-ender to the United States Marshal for this district:

         □ at                                   □ a.m.      □ p.m.         on
         □ as notified by the United States Marshal.

     □ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         □ before 2 p.m. on                                            .
         □ as notified by the United States Marslial.

         □ as notified by the Probation or Prclrial Services Office.


                                                                RETURN

I liave executed this judgment as follows:




         Defendant delivered on                                                        to

al                                               . with a certified copy of this judgment.



                                                                                                UNITBD STATBS MARSHAL



                                                                       By
                                                                                             DBPUTY UNITKD STATl-S MARSHAL
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AO 245B(Rev. 02/18) Judgment in a Criminal Case
                    Sheet 3 - Supervised Release
                                                                                                         Judgment—Page   3   of
DEFENDANT; XAVIERONEAL
CASE NUMBER: 16-CR-00021{S-1)-001
                                                       SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a tenn of:
     Three (3) years




                                                    MANDATORY CONDITIONS


j.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.     You must refrain from any unlawful use of a controlled substance. You must submit to one drug lest within 15 days of rclca.sc from
       imprisonment and at least two periodic drug tests thereafter, as determined by the couit.
              □ The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse, (check if applicable)
4.       EI You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution, (check f applicable)
5.      EI You must cooperate in the collection of DNA as directed by the probation officer, (check fapplicable)
6.      □ You must comply with the requirements of the Se.\ Offender Registration and Notification Act (34 U.S.C. § 20901, ei setj.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, arc a student, or were convicted of a qualifying offense, (check f applicable)
7.      □ You must participate in an approved program for dome.stic violence, (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
         Case 1:16-cr-00021-LDH Document 125 Filed 11/29/18 Page 4 of 7 PageID #: 705


 AO 245B (Rev. 02/18) Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                               judgment—Page         4        of          {_
DEFENDANT: XAVIER ONEAL
CASE NUMBER: 16-CR-00021(S-1}-001

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supcr\'ised release, you must comply with the following standard conditions of supervision. Those conditions are imposed
because they establish the basic expectations for your behavior while on supcr\'ision and identify the minimum tools needed by probation
officers to keep infonned, report to the court about, and bring about improvements in your conduct and condition.
1.    You must report to the probation office in the federal judicial district where you arc authorized to reside within 72 hours of your
      release from imprisonment, unless the probation ofiiccr instructs you to report to a different probation olTice or within a diflercnl time
      frame.
2.    After inilially rcpoiting to the probation ofTicc, you will receive instructions Irom the court or the probation officer about how and
      when you must report to the probation officer, and you mu.st report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you arc autliorizcd to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements(such as the people you live with), you must notify the probation officer at least 10 days before tlie change. If notifying
      the probation ofiiccr in advance is not possible due to unanticipated circumstances, you must notify the probation otTiccr within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation ofTiccr to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week)at a lawful type ofemployment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must lr>' to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at !ca.st 10
     days in advance is not possible due to unanticipated circumstances, you must notify ihc probation officer within 72 hours of
     becoming aware of a change or expected change.
8.   You must not communicate or interact with someone you know is engaged in cnminai activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person wiiliout first getting the pcnnission of the
      probation officer.
9.   If you arc arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose ofcausing bodily injury or death to another person such as nunchakus or lasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission olThc court.
12. If the probation officer dclcnnincs Uiat you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instniction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions ofsupcrvision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided mc with a written copy of this
judgment containing those conditions. For further information regarding these conditions, sec Dvcnvevv ofProbation and Supervised
Release Conditions, available at: www.u.scouil.s.gov.


Defendant's Signature                                                                                     Date
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 AO 245B(Rov. 02/18) Judgment in a Criminal Cose
                      Sheet 3D — Supervised Release
                                                                                             Judgment—Page    5    of      (
DEFENDANT; XAVIER ONEAL
CASE NUMBER: 16-CR-00021{S-1 )-001

                                        SPECIAL coNnrnoNS of supervision
 1) The defendant shall participate in an outpatient drug treatment program approved by the U.S. Probation Department.
The defendant shall contribute to the costs of such treatment not to exceed an amount determined reasonable by the
 Probation Department's Sliding Scale for Substance Abuse Treatment Services, and shall cooperate in securing any
 applicable third party payment, such as insurance or Medicaid. The defendant shall disclose all financial information and
 documents to the Probation Department to assess his ability to pay. The defendant shall not consume any alcohol or other
 intoxicants during and after treatment, unless granted a prescription by a licensed physician and proof of same is provided
 to the Probation Department. The defendant shall submit to testing during and after treatment to ensure abstinence from
 drugs and alcohol.

 2) For a period of 3 months, the defendant shall comply with a curfew via electronic monitoring as directed by the U.S.
 Probation Department. The defendant will remain at his place of residence from 7 p.m. to 7 a.m. The Probation
 Department may designate another twelve hour respective lime period, if the defendant's employment, education, or
 observance of religious services preclude the above specified times. The curfew via electronic monitoring shall commence
 on a date approved by the Probation Department. During the curfew period, the defendant shall wear an electronic
 monitoring bracelet or similar tracking device and follow all requirements and procedures established for the curfew via
 electronic monitoring by the Probation Department. In addition, the defendant shall pay all costs, including the price of the
 electronic monitoring equipment, to the degree he is reasonably able. The defendant shall disclose all financial information
 and documents to the Probation Department to assess his ability to pay.

 3)The defendant shall maintain full-time verifiable employment and/or shall participate in an education or vocational
 training program as selected by the Probation Department.

 4)The defendant shall comply with any restitution order imposed at sentencing.

 5) Upon request, the defendant shall provide the U.S. Probation Office with full disclosure of his financial records, including
 co-mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the
 financial accounts reported and noted within the presentence report, the defendant is prohibited from maintaining and/or
 opening any additional individual and/or joint checking, savings, or other financial accounts, for either personal or business
 purposes, without the knowledge and approval of the U.S. Probation Office. The defendant shall cooperate with the
 Probation Officer in the investigation of his financial dealings and shall provide truthful monthly statements of his income
 and expenses. The defendant shall cooperate in the signing of any necessary authorization to release information forms
 permitting the U.S. Probation Office access to your financial information and records.

 6)The defendant shall not possess a firearm, ammunition, or destructive device.
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 AO 245B (Rev.02/18) Judgment in a Criminal Case
                     ^ccl 5 — Criminal Monetary Penalties
  _                                                                                                    Judcmcnt — Pace     6      of      7
  DEFENDANT: XAVIER ONEAL
  CASE NUMBER: 16-CR-00021(S-1)-001
                                             CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule ofpayments on Sheet 6.

                       Assessment                 JVTA Assessment*               Fine                        Restitution
  TOTALS           S 100.00                   S                              S                            S 120,030,00

 □ The determination of restimtion is deferred until                   . An Amended Judgment in a Crhninal Case (AOuse) will be entered
       after such determination.


 □ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      feaS                                                                                            § 366d(?)/all nonfcdc.:.!               paid
 Name of Payee                                                    Total Loss**           Restitution Ordered             Prioritv or Percentage




totals                             S                         0^           $_                      O.OQ

□ Restitution amount ordered pursuant to plea agreement $

□ The defendant must pay interest on restitution and a fine of more than S2,500. unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(0. MI of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
□ The court dctcnnincd that the defendant docs not have the ability to pay interest and it is ordered that:
      □ the interest requirement is waived for the          □ fine    □ restitution.
      □ the interest requirement for the      □ fine         □ rc.stitution is modified as follows:

^Justice for Victims ofTrafficking Act of 2015, Pub. L. No. 114-22.
                                                                                 "0. "OA, and 113A of Tide 18 for offenses commidcd on or
          Case 1:16-cr-00021-LDH Document 125 Filed 11/29/18 Page 7 of 7 PageID #: 708

A0 245H (Kcv.(12/18) Jiiclgmcnf in a Criminal CiBC
                       Shed 6 — Schedule of Payments
                                                                                                            Judgmcnl — Page      7      of         I
DEFENDANT: XAVIERONEAL
CASENUMBER: 16-CR-00021(S-1)-001

                                                       SCHEDULE OF PAYMENTS

Having assessed tlic defendant's ability to pay, paytncnt ofthe total criminal monetary penalties is due as follows:
A     2] Lump sum payment ofS ''OO QQ                          due immediately, balance due
            □     not later than                                    , or
            □     in accordance with □ C,            DO,      Q E, or         OF below; or

B     □ Payment to begin immediately (may be combined with                 DC,          □ D, or       DP below); or
C     Q Payment in cciual                               weekly, monilily, eitiarierly) installments of S                        over a period of
                            (e.g.. monfkx oryeai-.x), to commence                  (e.g.. SO or 60 days) after the date of this judgment; or
D     n Payment in equal                                 hiohz/j/c,                 installments of S                          over a period of
                     (e.g.. ntonih- or years), to commence                         (e.g.. 30 or 60 days) after release from imprisonment to a
            term of supcn.'ision; or

E     □ Payment during the tenn of supervised release will commence within                  (e.g.. 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that lime; or
F     2] Special instructions regarding the payment of criminal monetary penalties:
             Payment shall be made payable to the Clerk of of the Court. 'An Order of Restitution in the amount of $120,030,
             due immediately, and payable at a rate of S25 per quarter while in custody, and at a rate of 10% of gross monthly
             Income while on supervised release.



Unless the court has expressly ordered olltcrwisc, if this judgment imposes imprisonment, payment ofcrimiiial monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau ot Prisons Inmate
Financial Responsibility Program, arc made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



□     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers fincludiiig defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




□     The defendant shall pay tlic cost of prosecution.

□     The defendant shall pay the following court cosi(s):

□     The defendant shall forfeit the defendant's interest in the following propcny to the United States;


Payments shall be applied in the following order: (1) as.scssmenl, (2) tc.stitution principal. (3) rc.stitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of piusccution and court costs.
